 Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 1 of 10



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                        Case No.: 1:19-cv-23131

     EQUAL EMPLOYMENT OPPORTUNITY
     COMMISSION,

            Plaintiff,

     LOUISE DAVIDSON-SCHMICH,

            Intervenor Plaintiff,

     v.

     UNIVERSITY OF MIAMI,

            Defendant
                                                    /

                         INTERVENOR PLAINTIFF’S COMPLAINT AND
                                DEMAND FOR JURY TRIAL

            COMES NOW Intervenor Plaintiff, LOUISE DAVIDSON-SCHMICH, by and through
     her undersigned counsel, sues Defendant UNIVERSITY OF MIAMI, and alleges the
     following:
                                     NATURE OF THE ACTION
            1.      This is an action under Title VII of the Civil Rights Act of 1964, Title I of the
     Civil Rights Act of 1991, and the Equal Pay Act of 1963, to correct unlawful employment
     practices on the basis of sex and to provide relief to Intervenor Plaintiff Louise
     Davidson-Schmich. Defendant University of Miami discriminated against Intervenor Plaintiff
     by paying her less than a male counterpart for performing equal and/or similar work.
                                    JURISDICTION AND VENUE
            2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,
     1343 and 1345.




aa
pa   The Amlong Firm ! 500 Northeast Fourth Street !        Fort Lauderdale, FL 33301   !   954.462.1983
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 2 of 10



          3.      This action is authorized and instituted pursuant to:
                  a.     Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title
   VII”), as amended, 42 U.S.C. §2000e-5(f)(1) and (3), and Section 102 of Civil Rights Act of
   1991, 42 U.S.C. §1981a, to enforce provisions of Title VII; and
                  b.     Sections 16(c) and 17 of the Fair Labor Standards Act of 1938 (the
   “FLSA”), as amended, 29 U.S.C. §§ 216(c), 217, to enforce provisions of the Equal Pay Act of
   1963 (“Equal Pay Act”), codified as Section 6(d) of the FLSA, 29 U.S.C. § 206(d).
          4.      Defendant’s principal place of business is within the jurisdiction of the United
   States District Court for the Southern District of Florida, Miami Division.
                                              PARTIES
          5.      Intervenor Plaintiff Louise Davidson-Schmich is of the female gender.
          6.      At all relevant times, Intervenor Plaintiff Louise Davidson-Schmich has been
   employed by Defendant University of Miami (“UM”).
          7.      At all relevant times, Defendant UM, a Florida non-for-profit corporation, has
   continuously done business in the State of Florida with its principal place of business in Miami,
   Florida, and has continuously had at least 15 employees.
          8.      At all relevant times, Defendant has continuously been an employer engaged in
   an industry affecting commerce within the meaning of Sections 701(b), (g) and (h) of Title VII,
   42 U.S.C. §§ 2000e (b), (g) and (h).
          9.      At all relevant times, Defendant UM has continuously acted directly or indirectly
   as an employer in relation to employees and has continuously been an employer within the
   meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).
          10.     At all relevant times, Defendant UM has continuously employed employees
   engaged in commerce or in the production of goods for commerce within the meaning of
   Sections 3(b), (i) and (j) of the FLSA, 29 U.S.C. §§ 203(b), (i) and (j).
          11.     At all relevant times, Defendant UM has been an enterprise engaged in
   commerce or in the production of goods for commerce as an enterprise that is engaged in the
   operation an institution of higher education, pursuant to Section 3(r) & (s) of the FLSA, 29
   U.S.C. § 203(r) and (s).




                                                                                         Page 2 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 3 of 10



                                   CONDITIONS PRECEDENT
          12.     Intervenor Plaintiff Louise Davidson-Schmich filed a timely charge of
   discrimination with the Equal Employment Opportunity Commission (“EEOC” or
   “Commission”) alleging violations of Title VII.
          13.     On March 5, 2019, the Commission issued to Defendant UM a Letter of
   Determination finding reasonable cause to believe that the EPA and Title VII were violated and
   inviting Defendant to join with the Commission in informal methods of conciliation to
   endeavor to eliminate the unlawful employment practices and provide appropriate relief.
          14.     On March 22, 2019, the Commission issued to Defendant UM a Notice of
   Failure of Conciliation advising Defendant that the Commission was unable to secure from
   Defendant a conciliation agreement acceptable to the Commission.
          15.     The EEOC has filed suit against the Defendant and Intervenor Plaintiff has a
   statutory right to intervene pursuant to 42 U.S.C. §2000e-5(f) (1) (“[t]he person or persons
   aggrieved shall have the right to intervene in a civil action brought by the Commission….”).
          16.     All conditions precedent to the institution of this lawsuit have been fulfilled.
                                     STATEMENT OF FACTS
          17.     UM is a private, non-for-profit organization that provides services in education,
   research and health care.
          18.     UM is comprised of 12 schools and colleges, including the College of Arts and
   Science (“CAS”), which includes the Department of Political Science.
          19.     Intervenor Plaintiff Louise Davidson-Schmich is part of the faculty of the
   Department of Political Science.
          20.     Gregory Koger is part of the faculty of the Department of Political Science.
          21.     Faculty ranking within CAS is as follows from lowest to highest: lecturer, senior
   lecturer, assistant professor, associate professor, full professor.
          22.     UM hired Intervenor Plaintiff Louise Davidson-Schmich in August 2000 as a
   first- year assistant professor in the Department of Political Science.
          23.     When UM hired Intervenor Plaintiff in August 2000 UM paid her a salary of
   $50,000.
          24.     In the spring/summer of 2007, Intervenor Plaintiff had six-years of experience.



                                                                                       Page 3 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 4 of 10



          25.    In the spring/summer of 2007, UM awarded Intervenor Plaintiff tenure and
   promotion to associate professor.
          26.    When UM awarded Intervenor Plaintiff tenure and promotion to associate
   professor, UM paid Intervenor Plaintiff a salary of $72,500.
          27.    UM hired Gregory Koger (“Koger”) in the spring/summer of 2007 as an assistant
   professor in the Department of Political Science.
          28.    When UM hired Koger as an assistant professor, Koger had four years of
   experience at another institution, the University of Montana.
          29.    When UM hired Koger as an assistant professor, UM paid Koger $81,000.
          30.    In the spring/summer of 2007, Intervenor Plaintiff had already published a book,
   while Koger did not publish one until 2010.
          31.    In the spring/summer of 2007, Intervenor Plaintiff had published more articles
   than Koger.
          32.    In December 2016, Intervenor Plaintiff and Koger were both reviewed for
   promotion to full professor at the same time.
          33.    Koger and Intervenor Plaintiff were reviewed and evaluated for promotion to full
   professor based on the same qualification standards.
          34.    UM reviews and evaluates candidate for promotion to full professor based on
   candidates’ record in research, teaching and service.
          35.    Both Intervenor Plaintiff and Koger were recommended for promotion to full
   professor with a 5-0 committee vote.
          36.    Reviews by the CAS Dean noted that each candidate had strength and
   weaknesses in their records.
          37.    With respect to Intervenor Plaintiff the CAS Dean wrote:
          I echo the external reviewers’ general assessment that the candidate’s book is of
          high significance and visibility. I would have preferred that her article had been
          placed in higher impact venues, as some letter writers mention. Given the focus
          of her research, her articles are appropriately placed, but they had a narrower
          constituency and therefore fewer citations. The candidate’s Fulbright award is
          a clear indication of future trajectory to a wider audience and of international
          visibility. This award as well as the quality of her second monograph, on
          balance, argue in favor of the candidate's promotion to Professor.




                                                                                      Page 4 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 5 of 10



          38.    With respect to Koger the CAS Dean wrote:
          In conclusion, while I have some reservations about the placement of articles
          produced by Professor Koger post-tenure, I also conclude that he has met the
          departmental criteria with respect to research and scholarship. In my estimation,
          the many positive reviews of his two books and pre-tenure articles in top journals
          have provided him a significant launch pad that has earned him a very strong
          reputation among other scholars of American politics. Thus, on the basis of the
          departmental criteria, I concur with the chair and the ad hoc committee that he
          be promoted to the rank of Professor.

          39.    Both Intervenor Plaintiff and Koger received ratings above the norm for teaching.
          40.    For the service component, Koger’s review lacked any distinction.
          41.    For the service component, the Chair noted that Intervenor Plaintiff “has
   willingly assumed more than her share of service assignments—in the profession as well as at
   the university—when asked or on her own initiative.”
          42.    Intervenor Plaintiff and Koger were both promoted to full professor around the
   same time in late 2016/early 2017.
          43.    In late 2016/early 2017 the Ad Hoc Committee on Women Faculty released a
   memorandum (the “Memorandum”) making recommendations to the CAS leadership on pay
   equity issues that were revealed through an audit done of salaries within the CAS.
          44.    The Memorandum stated that women make $32,889 less than men on average
   in the CAS.
          45.    The Memorandum stated that the percentage of women in ranks of assistant
   professor and associate professors were 48.4% to 43.8%, respectively. However, the percentage
   of women in full professor rank dropped to 19.1%.
          46.    In May 2017, Intervenor Plaintiff and a group of female faculty members met
   with the CAS Dean to discuss concerns they had about unequal treatment of female faculty
   members compared to male faculty members.
          47.    Specifically, the group of female faculty members discussed the following with
   the CAS Dean at the May 2017 meeting: the findings contained in the Memorandum; lack of
   transparency in how travel and research funds within the Department of Political Science are
   dispersed; lack of transparency and unfair practices in the process of determining pay increases,
   such as lack of recognition to service component.
          48.    At the May 2017 meeting with the CAS Dean, Intervenor Plaintiff specifically

                                                                                       Page 5 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 6 of 10



   raised her concern about being paid less than other male professors, and about pay increases
   being based on percentage of current salary, which would reinforce and perpetuate existing pay
   disparities.
          49.     The CAS Dean did not do anything to address Plaintiff Intervenor’s concern
   about being paid less than other male professors.
          50.     In late 2017, Intervenor Plaintiff made a request to UM’s Title IX Coordinator
   to anonymously investigate whether she was receiving unequal pay compared to male
   counterparts, but Intervenor Plaintiff never received a response to her request.
          51.     In May 2018, via an email inadvertently sent to Intervenor Plaintiff, Intervenor
   Plaintiff learned that UM paid her $112,400 in salary for the academic year, while UM paid
   Koger $137,366 during the academic year for equal and/or similar work as full professors in
   the Department of Political Science.
          52.     For the summer of 2018, UM had set Koger’s pay to be more than Intervenor
   Plaintiff for teaching summer session, as summer session pay is equivalent to approximately
   8.75% of academic-year salary.
          53.     Intervenor Plaintiff filed a charge of discrimination with the EEOC the following
   month, on June 4, 2018.
          54.     After Intervenor Plaintiff filed her EEOC charge of discrimination, the CAS
   Dean reported to human resources that Intervenor Plaintiff had received a high percentage
   increase in her salary for 2018 but did not ensure Intervenor Plaintiff was paid the same as male
   full professors in the Department of Political Science performing similar or equal work.
          55.     UM has not provided for back pay for any previous years where Intervenor
   Plaintiff was under-paid.
          56.     UM was put on notice on at least four occasions of unequal pay based on sex—
   through the Memorandum, the May 2017 meeting between the CAS Dean and female faculty
   members, Intervenor Plaintiff’s request to the Title IX Coordinator for an investigation, and
   Intervenor Plaintiff’s EEOC Charge of Discrimination—yet UM did not remedy the pay
   disparity based on sex.
          57.     Due to UM’s unequal treatment of her based on her sex, Intervenor Plaintiff has
   suffered and continues to suffer damages.



                                                                                       Page 6 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 7 of 10



                          STATEMENT OF EQUAL PAY ACT CLAIMS
          58.     Paragraphs 2, 3.B, 4 through 7, 9 through 11, and 16 through 57 are fully
   incorporated herein.
          59.     Since at least 2007, UM has violated the Equal Pay Act, Sections 6(d)(1) and
   15(a)(2) of the FLSA, 29 U.S.C. §§ 206(d)(1) and 215(a)(2), by paying Intervenor Plaintiff
   wages at a rate less than the rate it pays male professors.
          60.     Defendant UM violated the Equal Pay Act because it paid different wages to
   employees of the opposite sex, including Intervenor Plaintiff, for equal work on jobs the
   performance of which requires equal skill, effort, and responsibility.
          61.     At various times during the course of her employment, Intervenor Plaintiff
   performed work equal in skill, effort, and responsibility to the work of certain male employees
   who were paid higher compensation, including Koger.
          62.     As a result of the acts complained of above, UM has unlawfully withheld and
   continuing to withhold the payment of wages due to Intervenor Plaintiff.
          63.     The unlawful practices complained of above were and are willful.
          64.     UM’s violation of the Equal Pay Act is willful.
          65.     Due to UM’s violation of the Equal Pay Act, Intervenor Plaintiff has suffered
   damages.
                              STATEMENT OF TITLE VII CLAIMS
          66.     Paragraphs 2, 3.a, 4 through 8, and 12 through 57 are fully incorporated herein.
          67.     Since at least 2007, Defendant UM engaged in unlawful employment practices,
   in violation of Section 703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1), by subjecting Intervenor
   Plaintiff to discrimination based on sex by paying her less compensation than similarly situated
   comparators, including Koger.
          68.     The effect of the practices complained of above has been to deprive Intervenor
   Plaintiff of equal employment opportunities, including equal wages, and otherwise adversely
   affect her employment status because of her sex, female.
          69.     The unlawful practices complained of above were intentional and caused
   Intervenor Plaintiff to suffer emotional distress including, but not limited to, emotional pain,
   suffering, inconvenience, loss of enjoyment of life, humiliation and/or physical damages.
          70.     The unlawful employment practices complained of above were and are being

                                                                                        Page 7 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 8 of 10



   done with malice or with reckless indifference to the federally protected rights of Intervenor
   Plaintiff.
                                      PRAYER FOR RELIEF
           Intervenor Plaintiff Louise Davidson-Schmich respectfully requests that this Court grant
   the following relief under the Equal Pay Act and Title VII:
           A.     Grant a permanent injunction enjoining Defendant, its officers, agents, servants,
   employees, attorneys, and all persons in active concert or participation with them, from
   participating in discriminatory conduct based on sex including but not limited to permitting
   discriminatory compensation based on sex.
           B.     Grant a permanent injunction enjoining Defendant, its officers, successors,
   assigns and all persons in active concert or participation with them, from paying wages to
   employees of one sex at rates less than the rates at which they pay employees of the opposite
   sex for substantially equal work, considering the skills, effort, and responsibilities of the jobs,
   under similar working conditions.
           C.     Order Defendant to institute and carry out policies, practices, and programs
   which provide equal employment opportunities for female faculty members and which
   eradicate the effects of its past and present unlawful employment practices.
           D.     Order Defendant to pay appropriate back wages, in amounts to be determined
   at trial, and an equal sum of liquidated damages, and prejudgment interest to Intervenor
   Plaintiff, including compensation withheld in violation of the Equal Pay Act and liquidated
   damages for the willful violation of the Equal Pay Act. 29 U.S.C. §§ 206(d)(3), 29 U.S.C.
   §§ 216, 217, 29 U.S.C. § 255.
           E.     Order Defendant to raise Intervenor Plaintiff’s pay to the level of male employees
   performing work equal in skill, effort, and responsibility to Intervenor Plaintiff’s work. 29
   U.S.C. Sec. 206(d)(3), 216, 217.
           F.     Order Defendant to make Intervenor Plaintiff whole by providing appropriate
   back pay with prejudgment interest, in amounts to be determined at trial, under Title VII.
           G.     Order Defendant to make Intervenor Plaintiff whole by providing compensation
   for past and future pecuniary losses resulting from the unlawful employment practices described
   above, in amounts to be determined at trial.



                                                                                        Page 8 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 9 of 10



             H.     Order Defendant to make Intervenor Plaintiff whole by providing compensation
   for past and future nonpecuniary losses resulting from the unlawful practices described above,
   including emotional pain, suffering, inconvenience, loss of enjoyment of life, and humiliation,
   in amounts to be determined at trial.
             I.     Order Defendant to pay Intervenor Plaintiff punitive damages for its intentional,
   malicious and reckless conduct, as described above, in amounts to be determined at trial.
             J.     Order Defendant to pay Intervenor Plaintiff her attorneys’ fees and costs of this
   action.
             K.     Grant such further relief as the Court deems necessary and proper in the public
   interest.
                                       JURY TRIAL DEMAND
             Intervenor Plaintiff Louise Davidson-Schmich requests a jury trial on all questions of
   fact raised by this Complaint.
                                                     Respectfully submitted,
                                                     THE AMLONG FIRM
                                                     500 Northeast Fourth Street
                                                     Fort Lauderdale, Florida 33138
                                                     Telephone: (954) 462-1983
                                                     Facsimile: (954) 523-3192


                                             By:     /s/ Karen Coolman Amlong
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                                                     Attorneys for Intervenor Plaintiff

                                     CERTIFICATE OF SEVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served via
   CM/ECF this 2nd day of October upon the following:
                                        See attached service list.


                                             By:     /s/ Karen Coolman Amlong

                                                                                          Page 9 of 10
Case 1:19-cv-23131-MGC Document 13 Entered on FLSD Docket 10/02/2019 Page 10 of 10



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                                                                        Page 10 of 10
